The Honorable Rebecca McDowell Cook Missouri Secretary of State State Capitol Building Jefferson City, MO  65101
Dear Secretary Cook:
On December 28, 2000, you submitted to us a summary statement prepared pursuant to Section 116.334, RSMo Supp., by Husch  Eppenberger relating to the Tobacco Settlement, Version 4B.  The summary statement which you have submitted is as follows:
  Shall the Constitution be amended to require that all tobacco litigation settlement payments to the State be placed into a state treasury trust fund to be used exclusively for health care treatment and access (including prescription drug cost assistance), tobacco use prevention initiatives, early childhood care and education initiatives and life sciences research; to create a Citizens Advisory Committee and a Life Sciences Research Board to initiate and oversee life sciences research; and to exclude tobacco settlement funds from revenue and expenditure limits in Article X, Sections 17 and 18 of the Constitution?
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement.  Since our review of the statement is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Sincerely,
                                   JEREMIAH W. (JAY) NIXON Attorney General